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  1   PETER C. ANDERSON
      United States Trustee
  2   ERYK R. ESCOBAR/SBN 281904                           FILED & ENTERED
      Assistant United States Trustee
  3   RUSSELL CLEMENTSON/SBN 143284
      Trial Attorney                                             MAY 24 2024
  4   Department of Justice
      Office of the United States Trustee                   CLERK U.S. BANKRUPTCY COURT
  5   915 Wilshire Blvd., Suite 1850                        Central District of California
      Los Angeles, California 90017                         BY Pgarcia DEPUTY CLERK
  6   Telephone: (213) 894-4505; Facsimile: (213) 894-2603
      Email: russell.clementson@usdoj.gov
  7                                                         CHANGES MADE BY COURT
                               UNITED STATES BANKRUPTCY COURT
  8                             CENTRAL DISTRICT OF CALIFORNIA
                                 SAN FERNANDO VALLEY DIVISION
  9

 10   In re:                                             Case No. 1:24-bk-10646-MB
 11   SYNAPSE FINANCIAL                                  Chapter 11
      TECHNOLOGIES, INC.,
 12                                                      ORDER DIRECTING
                                                         APPOINTMENT OF CHAPTER 11
 13                                                      TRUSTEE
                     Debtor.
 14
                                                         Date: May 24, 2024
 15                                                      Time: 8:00 a.m.
                                                         Ctrm: 303
 16                                                      21041 Burbank Boulevard
                                                         Woodland Hills, CA 91367 and
 17                                                      Via ZoomGov
 18
 19

 20            The United States Trustee’s Emergency Motion To Convert Case To Chapter 7
 21   Under 11 U.S.C. § 1112(b) Or, In The Alternative, To Direct Appointment Of A
 22   Chapter 11 Trustee Under § 1104(a) (“Motion”) was set for hearing on the above date
 23   and time. Appearances were made as reflected on the record. The Court having
 24   considered the record herein, the arguments of counsel and interested parties, and for
 25   good cause appearing and based on the Court's oral findings and conclusions,
 26            IT IS HEREBY ORDERED THAT:
 27
               1. The Motion is granted.
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  1          2. The United States Trustee shall appoint a Chapter 11 Trustee.

  2          3. As soon as possible, the chapter 11 trustee is directed to meet and confer with

  3             counsel for the various constituents in business with the Debtor, including

  4             the financial technology platforms, the partner financial institutions and the

  5             Debtor's secured lenders.

  6          4. The Court will hold a chapter 11 status conference on June 7, 2024, at 1:30

  7             p.m.

  8          5. Until further notice, the chapter 11 trustee is required to file, and to serve via

  9             NEF, a status report every Thursday no later than 6:00 p.m. prevailing

 10             Pacific Time, beginning on June 6, 2024.

 11          6. The Debtor, as well as its subsidiaries, officers, directors, shareholders,

 12             current and former employees, shall preserve all evidence and shall cease,

 13             desist and refrain from deleting, destroying, corrupting, removing, altering,

 14             modifying, concealing, spoliating, or secreting, any documents or

 15             information (including all electronically stored information) relating to the

 16             business of the Debtor in any way, no matter where such information resides,

 17             including any documents or information stored on any computer or any

 18             media. "Documents" shall be defined as in Federal Rule of Civil Procedure

 19             34 (made applicable to this case by Federal Rule of Bankruptcy Procedure

 20             7034).

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  1         7. This Order shall be effective immediately upon entry notwithstanding

  2             anything to the contrary in the Bankruptcy Rules or the Local Bankruptcy

  3             Rules of the United States Bankruptcy Court for the Central District of

  4             California.

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 23 Date: May 24, 2024

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